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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     11/15/2021


SADE SINCLAIR,

                                            Plaintiff,                 21-CV-00788 (ALC)(SN)

                          -against-                                             ORDER

UNITED STATES OF AMERICA,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

        On November 3, 2021, Plaintiff requested leave to move to compel Third Party

Defendants’ production of their insurance policy, Dr. Schneider’s 2017 W-2 form, and the audit

trail for the Plaintiff’s electronic medical record for the in-patient admission at Montefiore

Medical Center. Plaintiff supplemented her request on November 8, 2021, and the Third Party

Defendants responded the following day. Plaintiff’s motion is DENIED. Given Third Party

Defendants’ confirmation of Dr. Schneider’s employment by Montefiore Medical Center, and

the fact that Plaintiff has no direct claims against the Third Party Defendants, Plaintiff has not

made a sufficient showing of the need for either the insurance policy or the W-2 form. The Court

has reviewed the audit trail that was produced by the United States, and Plaintiff has not

adequately explained why the production of an additional audit trail is material to the case.

SO ORDERED.




DATED:           November 15, 2021
                 New York, New York
